Case 1:22-cr-00500-NRM-RLM Document 2 Filed 11/10/22 Page 1 of 1 PageID #: 7

                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
WK:JOE                                            271 Cadman Plaza East
F. #2022R00502                                    Brooklyn, New York 11201



                                                  November 10, 2022

By ECF

The Honorable Vera M. Scanlon
United States Magistrate Judge
United States District Court
Eastern District of New York
275 Cadman Plaza East
Brooklyn, NY 11201


              Re:     United States v. Andrew Pagan
                      Criminal Docket No. 22-500 (NM)

Dear Judge Scanlon:

               The government respectfully submits this letter to request that Your Honor
vacate the detention order entered yesterday in this matter. The Andrew Pagan removed
from New York State custody and arraigned by Your Honor yesterday is not the Andrew
Pagan who is the subject of the government’s indictment. ECF No. 1.

              The correct Andrew Pagan has been arrested and will be presented for his
arraignment this afternoon.

                                                  Respectfully submitted,

                                                  BREON PEACE
                                                  United States Attorney

                                           By:     /s/
                                                  John O. Enright
                                                  Assistant U.S. Attorney
                                                  (718) 254-6203

c.c.: Benjamin Yaster, Esq.
